   Case: 1:23-cv-16934 Document #: 1-1 Filed: 12/19/23 Page 1 of 14 PageID #:5

                                                                                                              CT Corporation
XXWolters Kluwer                                                                              Service of Process Notification
                                                                                                                       11/22/2023
                                                                                                          CT Log Number 545205648



   Service of Process Transmittal Summary

   TO:       Michael McDonald, Principal
             Clean Harbors, Inc.
             42 Longwater Dr
             Norwell, MA 02061-1612


   RE:       Process Served in Illinois

   FOR:      Clean Harbors Environmental Services, Inc. (Domestic State: MA)



   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                         PB LUBE, INC. d/b/a AURORA OIL AND LUBE vs. CLEAN HARBORS ENVIRONMENTAL
                                            SERVICES INC.

   CASE #:                                  2023LA001145

   PROCESS SERVED ON:                       C T Corporation System, Chicago, IL

   DATE/METHOD OF SERVICE:                  By Process Server on 11/22/2023 at 15:08

   JURISDICTION SERVED:                     Illinois

   ACTION ITEMS:                            CT will retain the current log

                                            Image SOP

                                            Email Notification, Michael McDonald mcdonaldm@cleanharbors.com

                                            Email Notification, Brad Carl carl.brad@cleanharbors.com

                                            Email Notification, Monica Murphy-Rodgers MURPHYMO@CLEANHARBORS.COM

                                            Email Notification, llinca Butnariu butnariu.ilinca@cleanharbors.com

                                            Email Notification, Katrina Scarsciotti scarsciotti.katrina@cleanharbors.com


   REGISTERED AGENT CONTACT:               C T Corporation System
                                           208 South LaSalle Street
                                           Suite 814
                                           Chicago, IL 60604
                                           877-564-7529
                                           MajorAccountTeaml@wolterskluwer.com




   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
   and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
   information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
   included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
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   contained therein.




                                                                                                                            Page 1 of 1




                                                                                                                    Exhibit A
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SUMMONS - CIRCUIT COURT                    SCR 101(d)                                                                           3101 (Rev. 5/23)


STATE OF ILLINOIS                              UNITED STATES OF AMERICA                COUNTY OF DU PAGE
                                IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT


  PB Lube, Inc. d/b/a Aurora Oil and
                      Lube
                                                                              2023LA001145

                                   PLAINTIFF                                CASE NUMBER
                     VS


    Clean Harbors Environmental
    Services Inc. and Safety-Kleen                                          SUMMONS
              Systems Inc.                                                 CIRCUIT COURT
                                  DEFENDANT
                                                                          0 ORIGINAL □ ALIAS                         File Stamp Here

 To each Defendant: Clean Harbors c/o C T CORP SYSTEM 208 SO LASALLE ST, SUITE 814 CHICAGO, IL 60604-1101
 You are summoned and required to file an answer to the complaint in this case, a copy of which is hereto attached, or otherwise file
 your appearance in the office of the Clerk of the Circuit Court, 505 N. County Fann Road, Wheaton, Illinois, within 30 days after
 service of this summons not counting the day of service. If you fail to do so, a judgment by default may be entered against you for
 the relief asked in the complaint.
 You are a party to a civil matter. Read all documents attached to this Summons. Typically, this means you must file an official
 document with the court, within the time stated on this Summons, called an "Appearance" and a document called an “Answer/
 Response". Note the Answer/Response is not required for small claims and eviction cases unless ordered by the court. If these
 documents are not filed on time the court may decide the case without hearing from you, and you could be held in default and lose
 the case.
 Documents must be filed electronically with the court (e-filed), which requires an account be created with an Illinois e-filing
 service provider, see ilcourts.info/efiling. If you are unable to e-file, you can obtain an exemption that allows filing in-person or by
 mail.
 You may be charged filing fees. If you are unable to pay them, you can file an Application for Waiver of Court Fees. A judge will
 rule on your eligibility for a fee waiver.
 The court may allow you to attend the first court date in this case by videoconference. Visit 18thiudicial.org to find the Zoom link
 for this case on your court date. Contact the Circuit Court Clerk's office at (630)407-8700 for more information.
 Need more help? Visit ilcourthelp.gov or call/text Illinois Court Help at (883)411-1121 for information about going to court,
 including how to fill out legal documents. Also, free legal information and referrals are available at illinoislegalaid.org. Document
 forms referred to in this Summons can be found at 18thjudicial.org or ilcourts.info/forms.
 ^Necesita ayuda? Llame o envie un mensaje de texto a Illinois Court Help al (883)411-1121,0 visite ilcourthelp.gov para obtener
 information sobre los casos de la corte y cdmo completar y presentar formularios.
                                                             To the Officer
 This summons must be returned by the officer or other person to whom it was given for service, with endorsement of service and
 fees, if any, immediately after service and not less than three (3) days before the date of remote appearance. If service cannot be
 made, this summons shall be returned so endorsed. This summons may not be served later than thirty (30) days after its date.
 Date of Service:
 To be inserted by officer on copy left with Defendant or other person.

Name Wilford LLP/ A. D’Agostino| | pr0 ge
DuPage Attorney Number: 359614                                                   WITNESS: CANDICE ADAMS, Clerk of the Eighteenth
                                                                                          Judicial Circuit Court, and the seal thereof, at
Attorney for: Plaintiff_____________________________
                                                                                          Wheaton, Illinois.
Address:330 E. Main St.. Ste. 3A____________________
City/State/Zip:       Barrington. IT, 60010
 Telephone Number: 224,848,4724____________________
Email: adapostinn@wilfordlln.com__________________



                                     CANDICE ADAMS, CLERK OF THE 18th JUDICIAL CIRCUIT COURT

                                                                                                                      Exhibit A
                                                  WHEATON, ILLINOIS 60187-0707
           Case: 1:23-cv-16934 Document #: 1-1 Filed: 12/19/23 Page 3 of 14 PageID #:7

SUMMONS - CIRCUIT COURT      SCR 101 (d)                                                           3101 (Rev. 5/23)



                                              SHERIFF’S FEES

 Service and return                                                  $
 Miles                                                               $
         Total
                                                       Sheriff of                                       County

                                            SHERIFF'S RETURN
                          I certify that I served this summons on defendant as follows:

           (a)    (Individual - personal):
                  By leaving a copy and a copy of the complaint with each individual as follows:

           (b)    (Individual - abode):                 [
                   By leaving a copy and a copy of the complaint at the usual place of abode of each
                  individual with a person of his family, of the age of 13 years or upwards, informing that
                  person of the contents of the summons, and also by sending a copy of the summons and the
                  complaint in a sealed envelope with postage fully prepaid, addressed to each individual at
                  the usual place of abode, as follows:

           (c)    (Corporation):
                  By leaving a copy and a copy of the complaint with the registered agent, officer, or agent of
                  each corporation as follows:

           (d)    (Other service):

           (e)    (Unable to Serve):
                              ■ By____________                      Deputy Badge Number:



Name of Defendant________________________                                                 Name of Defendant___________
Name of Person                                              Name of Person
summons given to__                                          summons given to _____         ■
 Sex_______ Race___ _ Approximate age______                      Sex_______Race_______
                                                                                   . Approx, age_______

Place of service_____                                       Place of service________
City, State                                                 City , State
 Date of service___________ _ Time                          Date of service ________ ___ Time__________
 Date of Mailing__________                                  Date of Mailing________
                                                            Sheriff of______________ ____________ County
 Special Process Server of___                                County Illinois License #_

                                                            By

                          CANDICE ADAMS, CLERK OF THE 18th JUDICIAL CIRCUIT COURT
                                       WHEATON, ILLINOIS 60187-0707
                                                                                               Exhibit A
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         IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
                         DUPAGE COUNTY, ILLINOIS      Candice Adams
                                                                             e-ffled in the 18th Judicial Circuit Court
                                                                             DuPage County
PB LUBE, INC. d/b/a AURORA OIL AND                    )                     ENVELOPE: 24980119
LUBE,                                                 )                     2023LA001145
                                                      I                     FILEDATE: 10/27/2023 3:39 PM
                                                      I                     Date Submitted: 10/27/2023 3:39 PM
                       Plaintiff,                     )
                                                      '
                                                                             Date Accepted: 10/27/2023 4:10 PM
                                                                             SK

                                                      )          No.
                                                      )
CLEAN HARBORS ENVIRONMENTAL
SERVICES INC. and SAFETY-KLEEN                        )           2023LA001145
SYSTEMS INC.                                          )
                                                      )
                       Defendants.                    )

                                     VERIFIED COMPLAINT

       Plaintiff, PB Lube, Inc. d/b/a Aurora Oil and Lube, by and through its attorneys, Wilford LLP,

as and for its Verified Complaint against Defendants, Clean Harbors Environmental Services, Inc.

and Safety-Kleen Systems, Inc., states and alleges as follows:

                                             PARTIES

        1.     Plaintiff, PB Lube, Inc. d/b/a Aurora Oil and Lube (“PB Lube”), is an Illinois

corporation. PB Lube’s principal address is 633 Prairie, Barrington, IL 60010 and it owns and

operates an oil change center located at 2944 Weber Drive, Aurora, IL 60502 (the “Property”).

       2.      On information and belief, Defendant, Clean Harbors Environmental Services, Inc.

(“Clean Harbors”), is a Massachusetts corporation, whose principal address is 42 Longwater Drive,

Norwell, MA 02061. Clean Harbors maintains and operates business offices in Illinois, including

locations at 645 E. 138th Street, Dolton, IL 60419 and 1506 East Villa Street, Elgin, IL 60120

       3.      Clean Harbors advertises that provides a wide variety of environmental field services

on a scheduled or emergency basis, including the collection and transportation of wet or dry,

hazardous and non-hazardous materials, decontamination services, and large-scale, complex site




                                                                                             Exhibit A
   Case: 1:23-cv-16934 Document #: 1-1 Filed: 12/19/23 Page 5 of 14 PageID #:9




cleanup      projects   that   meet   with   corporate   or   regulatory   cleanup   requirements.   See,

https://www.cleanharbors.com/services/industrial-field-services/field-services.         (Visited      on

10/3/2023).

        4.        On information and belief, Defendant, Safety-Kleen Systems Inc. (“Safety-Kleen”),

is a Wisconsin coiporation, whose principal address is 42 Longwater Drive, Norwell, MA 02061.

Safety-Kleen maintains and operates a business office located at 645 E. 138th Street, Dolton, IL 60419.

        5.        Safety-Kleen advertises that it provides environmental services to a diverse range of

businesses, including the pickup and disposal of liquids, high solids, oily water or sludge, the proper

cleaning and sanitizing of machine tool sumps and removal of all associated waste, and emergency

response services employing the best practices and affordable techniques for handling environmental

projects in the most responsible manner. See, https://www.safety-kleen.com/. (Visited on 10/3/2023).

        6.        On information and belief, Clean Harbors and Safety-Kleen are “sister companies”

and subsidiaries of Clean Harbors, Inc.

        7.        Safety-Kleen advertises itself as “A Clean Harbors Company.” Id.

                        THE WASTE OIL SPILL AND INITIAL CLEANUP

        8.        On or about April 3, 2022, PB Lube discovered a waste oil spill in the basement of

the Property.

        9.        PB Lube called Mr. Dan Patzshke for assistance and advice regarding the collection,

cleanup and remediation of the waste oil spill.

        10.       PB Lube called Mr. Patzshke because of his work experience with both Clean Harbors

and Safety-Kleen. On information and belief, Mr. Patzshke served, or serves, as a Manager at Safety-

Kleen and a Senior Vice President at Clean Harbors.




                                                    2



                                                                                             Exhibit A
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        11.     PB Lube relied upon Mr. Patzshke’s superior knowledge and expertise via his

employment with Safety-Kleen and/or Clean Harbors to properly advise PB Lube as to the proper

course of action and remedy for addressing the waste oil spill at the Property.

        12.     By informing Mr. Patzshke of the waste oil spill, PB Lube entrusted Mr. Patzshke to

appropriately advise whether the services of Safety-Kleen, Clean Harbors, or both, were necessary at

the Property.

        13.     On or about April 4, 2022, Mr. Patzshke dispatched a single Safety-Kleen vacuum

truck to pump the oil out of the basement at the Property.

        14.     Neither Mr. Patzshke nor any representative from Safety-Kleen and/or Clean Harbors

visited the Property to assess whether the single vacuum truck would be sufficient to address the waste

oil spill at the Property and/or determine whether emergency cleanup services were necessary to

prevent environmental contamination at or around the Property.

        15.     When the operator (on information and belief, Mr. Eric Korsgren) of the Safety-Kleen

vacuum truck arrived at the Property, he represented to his Safety-Kleen supervisor (on information

and belief, Mr. Rick Schuster) that the waste oil spill exceeded the cleanup capabilities and capacity

of the dispatched vacuum truck.

        16.     Despite the Safety-Kleen vacuum truck operator’s observations and representations to

his supervisor, no one else from Safety-Kleen and/or Clean Harbors visited the Property to determine

whether emergency cleanup equipment or services were necessary to prevent environmental

contamination at the Property.

        17.     After the Safety-Kleen vacuum truck operator left the Property, PB Lube called Mr.

Patzschke to confirm that no additional remediation and/or preventative measures were needed at the

Property.



                                                  3



                                                                                          Exhibit A
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        18.      Mr. Patzschke represented that the waste oil spill was remediated and that PB Lube

could resume regular operations.

                     PB LUBE REQUESTS ADDITIONAL REMEDIATION

        19.     Approximately 10 days after Safety-Kleen represented that the waste oil spill was

remediated, the City of Aurora notified PB Lube of a hazmat condition involving an oil spill, traveling

through storm sewers, into 2 nearby retention ponds.

        20.      The City of Aurora identified the Property as the source of the oil spill, forcing PB

Lube to call Mr. Patzschke, again.

        21.      On or about April 13, 2022, PB Lube demanded that Mr. Patzschke provide a more

comprehensive response to the waste oil spill than provided earlier in the month.

        22.     This time, Mr. Patzschke dispatched Clean Harbors field technicians to attend to the

waste oil spill at the Property.

        23.      With oil seeping into nearby retention ponds, the City of Aurora demanding that PB

Lube take action and immediate remediation needed, Clean Harbors presented PB Lube with a form

contract for ongoing cleanup services.

        24.      Over the next 2 months, Clean Harbors attended to the waste oil spill and invoiced PB

Lube for the use of remediation equipment.

        25.     Clean Harbors invoices originated from an office located at 1506 East Villa Street,

Elgin, IL 60120.

        26.     PB Lube regularly observed Clean Harbors’ field technicians at or near the Property

standing idly instead of working to remediate and cleanup the waste oil spill.

        27.      On at least 2 occasions, PB Lube observed that Clean Harbors’ oil absorption booms

were no longer properly located in the nearby retention ponds.



                                                  4



                                                                                           Exhibit A
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        28.     No one at Clean Harbors noticed that the retention ponds’ water levels receded below

the booms, rendering them ineffective. On these occasions, PB Lube, not Clean Harbors, repositioned

the oil absorption booms so they would remain in the retention ponds as intended.

        29.     At or around this time, Clean Harbors’ technicians admitted to being too busy to

properly attend to the waste oil spill at the Property.

        30.     As Clean Harbors’ cleanup efforts seemingly neared completion, Clean Harbors

represented that the waste oil spill was entirely remediated.

        31.     Based on Clean Harbors’ representations, PB Lube reactivated its pump system at the

Property only to discover more oil entering the City of Aurora’s storm sewer system.

        32.     On August 8, 2022, the City of Aurora billed PB Lube $15,805.28 for emergency

response services rendered on or about April 13, 2022 in connection with the discovery of oil in

retention ponds near the Property.

                                     COUNT I - NEGLIGENCE
                                      (Defendant Safety-Kleen)

        33.     PB Lube hereby reincorporates each and every allegation contained in the preceding

paragraphs of this complaint as if fully set forth herein.

        34.     Prior to the waste oil spill at the Property, PB Lube relied upon Safety-Kleen to

provide regular oil collection services.

        35.     The waste oil spill at the Property caused PB Lube to call Mr. Patzschke for advice on

the proper course of action and remedy for addressing a potentially hazardous environmental

situation.

        36.     PB Lube did not call Mr. Patzschke for regular oil collection services.




                                                    5



                                                                                          Exhibit A
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        37.        PB Lube relied upon Mr. Patzschke’s expertise and familiarity with the services of

Safety-Kleen and Clean Harbors, to select and dispatch the appropriate response to the waste oil spill

at the Property.

        38.        Mr. Patzschke dispatched a Safety-Kleen vacuum truck to clean up the waste oil spill

at the Property.

        39.        At all times relevant hereto, Safety-Kleen owed a duty to act with ordinary care for

the safety of the public, and specifically to PB Lube, while engaged in waste oil spill cleanup efforts.

        40.        PB Lube entrusted Safety-Kleen to exercise reasonable care when engaged in cleanup

efforts at the Property.

        41.        Safety-Kleen’s failure to exercise and/or disregard of its duty to exercise reasonable

care at the Property is illustrated by, and not limited to, the following:

              a.   the failure to inspect and/or analyze the scope of the waste oil spill at the Property
                   before recommending a cleanup method;

              b. the failure to provide alternate cleanup equipment, remediation, or services upon
                 recognizing that the vacuum truck dispatched to the Property could not fully or
                 adequately address the waste oil spill;

              c.   the failure to inspect, review, ensure that the cleanup services rendered completely
                   remediated the waste oil spill at the Property;

              d. the representation that the waste oi 1 spill at the Property was remediated and no further
                 action was necessary; and

              e.   Otherwise engaged in negligent, careless, and reckless conduct in the provision of
                   cleanup services.

        42.        As a direct and proximate result of one or more of the aforementioned negligent

acts/omissions of Safety-Kleen, PB Lube sustained damages in the form of the $15,805.28 paid to the

City of Aurora, devaluation of the Property due to uncontained oil seepage, reputational harm in the

surrounding community as the entity responsible for environmental contamination, and for additional



                                                     6



                                                                                               Exhibit A
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remediation services necessitated by Safety-Kleen’s incomplete and inadequate response to PB

Lube’s request for cleanup services at the Property.

          43.    Furthermore, the acts and omissions of Safety-Kleen were willful, wanton, in reckless

disregard of PB Lube’s rights, and Safety-Kleen’s duties to PB Lube and/or grossly negligent.

          WHEREFORE, PB Lube respectfully requests that this Court enter Judgment against Safety-

Kleen for compensatory damages, consequential damages, punitive damages, costs of suit, attorney’s

fees, prejudgment and post-judgment interest and such further relief as the Court deems just and

proper.

                     COUNT II - FRAUDUL ENT MISREPRESENTATION
                                  (Defendant Safety-Kleen)

          44.    PB Lube hereby reincorporates each and every allegation contained in the preceding

paragraphs of this complaint as if fully set forth herein.

          45.    During and after the provision of cleanup services at the Property, Safety-Kleen

represented to PB Lube that a single vacuum truck was an adequate remediation solution and that the

waste oil spill at the Property had been cleaned and contained to allow PB Lube to resume business

operations.

          46.   At the time of the above representation, Safety-Kleen knew or should have known the

representation was false.

          47.    Safety-Kleen knew, or should have known, the vacuum truck dispatched to the

Property could not fully address the waste oil spill.

          48.    Furthermore, Safety-Kleen knew more comprehensive emergency cleanup services

were needed to address the waste oil spill at the Property. Alternatively, Safety-Kleen acted in

conscious disregard of its duty to assess the scope of the waste oil spill and dispatch the appropriate

cleanup equipment and services.


                                                    7


                                                                                          Exhibit A
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        49.     Safety-Kleen knew PB Lube would rely upon whatever cleanup equipment and

services that Mr. Patzschke dispatched and would not insist on more comprehensive emergency

cleanup services unless Mr. Patzschke deemed them necessary.

        50.     Safety-Kleen also knew PB Lube would rely upon Safety-Kleen’s representation that

the waste oil spill was remediated.

        51.     Safety-Kleen also knew that an incomplete cleanup at the Property would allow the

waste oil spill to worsen and require PB Lube to engage Safety-Kleen and/or its sister-company, Clean

Harbors for emergency cleanup services at a substantial premium.

        52.     Given the risks presented by environmental contamination, PB Lube reasonably

assumed that Safety-Kleen would require and dispatch a solution to the waste oil spill at the Property

that would ensure no further seepage or harm at or near the Property.

        53.     PB Lube’s reliance upon Safety-Kleen’s statements and actions was justified due to

Safety-Kleen’s and Mr. Patzschke’s expertise, as well PB Lube’s long-standing relationship with Mr.

Patzschke.

        54.     As a direct and proximate result of Safety-Kleen’s statements and actions, PB Lube

sustained damages in the form of the $15,805.28 paid to the City of Aurora, devaluation of the

Property due to uncontained oil seepage, reputational harm in the surrounding community as the entity

responsible for environmental contamination, and for additional remediation services necessitated by

Safety-Kleen’s incomplete and inadequate response to PB Lube’s request for cleanup services at the

Property.

        WHEREFORE, PB Lube respectfully requests that this Court enter Judgment against Safety-

Kleen for compensatory damages, consequential damages, punitive damages, costs of suit, attorney’s




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                                                                                           Exhibit A
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fees, prejudgment and post-judgment interest and such further relief as the Court deems just and

proper.

                                COUNT in - BREACH OF CONTRACT
                                    (Defendant Clean Harbors)

          55.      PB Lube hereby reincorporates each and every allegation contained in the preceding

paragraphs of this complaint as if fully set forth herein.

          56.      On or about April 15, 2022, PB Lube entered into the Emergency Response

Agreement with Clean Harbors.

          57.       Clean Harbors agreed to provide a more comprehensive response to the waste oil spill

than provided by its sister-company, Safety-Kleen, earlier in the month, including but not limited to

the “Containment, recovery, repackaging and removal of waste or other materials” and “Site

evaluation, decontamination and restoration” services.

          58.       Clean Harbors’ breach of the Emergency Response Agreement by its failure to

perform its obligations under the Agreement is illustrated by, and not limited to, the following:

                a. the failure to fully remediate the Property so as to ensure that when PB Lube
                   reengaged its pump system, oil would not continue to be pumped into the City of
                   Aurora’s stormwater system;

                b. the failure to confurn the Property’s complete remediation prior to representing to PB
                   Lube that no further action or cleanup was necessary; and

                c. the failure to properly place and maintain oil absorption booms around the City of
                   Aurora’s contaminated retention ponds.

          59.      As a direct and proximate result of Clean Harbors’ breach, PB Lube sustained

damages in the form of the $15,805.28 paid to the City of Aurora, devaluation of the Property due to

uncontained oil seepage, reputational harm in the surrounding community as the entity responsible

for environmental contamination, and for additional remediation services necessitated by Clean




                                                     9


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Harbors’ incomplete and inadequate response to PB Lube’s request for cleanup services at the

Property.

        WHEREFORE, PB Lube respectfully requests that this Court enter Judgment against Clean

Harbors for compensatory damages, consequential damages, punitive damages, costs of suit,

attorney’s fees, prejudgment and post-judgment interest and such further relief as the Court deems

just and proper.

                                 DEMAND FOR JURY TRIAL

        Plaintiff, PB Lube, Inc. d/b/a Aurora Oil and Lube, hereby demands trial by jury.



Dated: October 27,2023                        PB LUBE, INC. d/b/a AURORA OIL AND LUBE
                                              Plaintiff,



                                                         One of Its Attorneys

Anthony J. D’Agostino (#6299589)
Sabina B.Danek (#6325013)
WILFORD LLP
330 East Main Street
Suite 3A
Barrington, Illinois 60010
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adagostino@wilfordllp.com
sdanek@wilfordllp.com
   DuPage Attorney # 359614 #CLK




                                                10



                                                                                            Exhibit A
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                                          VERIFICATION

        Under penalty of perjury as provided by law pursuant to Section 1-109 of the Illinois Code of

Civil Procedure, the undersigned certifies that he is authorized to make this Verification and that the

statements set forth in the foregoing pleading are true and correct, except as to matters therein stated

to be on information and belief and as to such matters the undersigned certifies that he believes the

same to be true.

                                               PB LUBE, INC. d/b/a AURORA LUBE AND OIL.




                                                 11


                                                                                          Exhibit A
